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CHRISTOPHER M. FIRST                                                                (713) 221-2027
PARTNER                                                                         cfirst@hpcllp.com
                                  February 24, 2020
 Hon. Nancy Atlas
 c/o Shelia Ashabranner, Case Manager to Judge Nancy F. Atlas
 15 Rusk Street, Room 9015
 Houston, TX 77002
 shelia_ashabranner@txs.uscourts.gov
 BY EMAIL AND ECF

        Re:    Enventure’s Letter Request to Expand the Scope of Case 4:19-cv-02397

 Dear Judge Atlas:

        I write to address Enventure’s letter dated February 20 (ECF No. 48). This letter
 purports to relate to a scheduling dispute. Enventure puts the cart before the horse—it asks
 the Court to “slightly modify” the schedule to allow Enventure to add new accused
 products and add a new patent to a case that is already unduly expansive because it includes
 seven asserted patents and 55 asserted claims against five separate Weatherford product
 lines. Enventure’s reason for this proposal is “shortly, [it] plans to file an amended
 complaint”—but Enventure has neither sought nor been granted leave to add these new
 allegations, which Weatherford opposes. See Env. Ltr. at 1, FN1; 2, FN2.

        The scheduling order requires “if the amendment could affect preliminary or final
 infringement contentions, a motion must be made under P.R. 3-7 irrespective of whether
 the amendment is made before this deadline.” See ECF No. 17 at 4. And P.R. 3-7 requires
 that such an amendment “may be made only if the presiding judge finds there is good cause
 for the requested changes.” (Emphasis added.) Enventure concedes its proposed
 amendment would affect infringement contentions and concedes a motion for leave is
 required. See Env. Ltr. at 2. Yet Enventure has not sought leave to amend to add new
 products and a new patent to the case, has not tried to show good cause, and has not been
 granted leave. Weatherford can present many reasons why leave would be unwarranted in
 opposition to a motion for leave. The Court should deny Enventure’s request.

        Enventure first suggested in November it might seek to add an infringement
 allegation against Mohawk-manufactured tools bought by Weatherford, even though
 Enventure already recovered damages on those products as part of the Mohawk litigation.
 (Thus, Enventure’s claims as to the Mohawk tools are barred under principles of double

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recovery.) Weatherford agreed to push back Enventure’s infringement contention date in
the original schedule, and Enventure later sought and received another one-month
extension from the Court to serve its infringement contentions. See ECF No. 32. All of this
was purportedly to narrow its case—indeed, the Court made clear to Enventure weeks ago
that its contentions needed to be “broad enough that you can live with them for the rest of
this case.” Enventure served its contentions on February 10—they did not include the
Mohawk tools or the new patent Enventure seeks to add.

        Only four days after serving its infringement contentions, Enventure informed
Weatherford it would seek leave to add new accused products and add a new patent into
the case. Weatherford stated it would oppose. Now, rather than seeking leave, Enventure
labels the dispute as a scheduling issue. It is not; this is a dispute about whether Enventure
can show good cause in a motion for leave to expand the scope of this case by adding a
new patent and adding new accused products. It has not even tried to meet the legal
requirements for such a request. See ECF No. 17 at 4; Local Patent Rule 3-7.

       Enventure provides no explanation why its February 10 infringement contentions
did not include the allegations it now seeks to add. Nor does Enventure make any attempt
to show good cause, or to show that leave to amend is justified, especially given the weight
of the facts: (1) Enventure’s multiple extensions; (2) the Court’s express warning that
Enventure should use those extensions to finalize its contentions; (3) the fact Enventure
knew of both the products and patent it seeks to add even before this case was filed; (4)
Enventure’s lack of explanation for its delay; and (5) the futility of adding Mohawk tools
where Enventure already recovered for those tools.1

        For these reasons, Weatherford respectfully asks the Court to deny Enventure’s
letter request.

        Regards,




        Christopher M. First

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  Even where good cause is not required, Supreme Court jurisprudence shows “undue delay, bad faith or
dilatory motive [], repeated failure to cure deficiencies by amendments previously allowed, undue prejudice
to the opposing party by virtue of allowance of the amendment, futility of amendment, etc.” are proper
reasons to deny leave. Foman v. Davis, 371 U.S. 178, 182, 83 S. Ct. 227, 230, 9 L. Ed. 2d 222 (1962).




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